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     In the United States Court of Federal Claims
                                  No. 02-704 C
                         (E-filed: September 29, 2006)

TESORO HAWAII CORPORATION                    )      Contracts - Economic
                                             )      Price Adjustment Clauses:
AND                                          )      Illegality; FAR § 16.203;
                                             )      fair and reasonable prices;
TESORO ALASKA COMPANY,                       )      FAR §15.402;
                                             )      Misrepresentation;
               Plaintiffs,                   )      Mistake of Fact; Fifth
                                             )      Amendment Takings
       vs.                                   )
                                             )
THE UNITED STATES,                           )
                                             )
               Defendant.                    )

        J. Keith Burt, Mayer, Brown, Rowe & Maw, Washington D.C. for
plaintiffs.

       Steven J. Gillingham, Assistant Director, Commercial Litigation
Branch, United States Department of Justice, Washington D.C., for defendant.
With him were Peter D. Keisler, Assistant Attorney General, David M. Cohen,
Director, Howard M. Kaufer and Donald S. Tracy, of counsel.

                                   OPINION

BRUGGINK, Judge

        This case returns to the court after an interlocutory appeal to the Federal
Circuit. Tesoro Hawaii Corp. v. United States, 405 F.3d 1339 (Fed. Cir.
2005). Now pending is defendant’s dispositive motion. Defendant moves
pursuant to Rule 12(b)(1) of the Rules of the Court of Federal Claims
(“RCFC”) to dismiss several paragraphs of the second amended complaint for
lack of jurisdiction and seeks summary judgment under RCFC 56(b) as to the
rest of the complaint. In the alternative, defendant moves to dismiss the entire
complaint pursuant to RCFC 12(b)(6) for failure to state a claim. Plaintiffs
oppose that motion and ask for a continuance to permit discovery under RCFC
56(f). Also pending is defendant’s motion to stay proceedings pending appeals
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in related cases. Plaintiffs oppose that motion.

      The matter has been fully briefed and oral arguments were heard on
August 3, 2006. For the reasons stated below, we grant defendant’s motion to
dismiss paragraphs 45 and 46 for lack of jurisdiction and dismiss the rest of the
complaint for failure to state a claim..

                               BACKGROUND 1

       This case involves the Defense Energy Supply Company’s (“DESC”)
use of economic price adjustment (“EPA”) clauses in a series of military jet
fuel contracts between the United States, acting through the Defense Energy
Supply Company (“DESC”), and plaintiffs, Tesoro Hawaii and Tesoro Alaska
Corporations.2 Plaintiffs are wholly owned subsidiaries of Tesoro Petroleum
Corporation (“Tesoro”).

        The 39 contracts involved in this suit were entered into and fully
performed between 1982 and 1999. The contracts were for the sale of nearly
one billion dollars of several different types of military grade jet-fuel to be
delivered at different locations in Hawaii and Alaska. The contracts included
DESC’s standard price escalation clause 19.33 or one substantially similar to
it. The EPA clauses adjusted the base contract price upwards or downwards
in relation to the movement of a reference price contained in a specified price
index.

       The majority of these contracts were awarded under DESC’s domestic
bulk-fuels program. From 1984 to 1994, the contracts under the bulk-fuels
program tied their EPA clauses to specific price indexes contained in the
Petroleum Marketing Monthly (“PMM”). The PMM is a collection of price
indexes for specific products and regions,3 published monthly by the


1. We draw these facts from the Second Amended Complaint, our earlier opinion,
Tesoro Hawaii Corp. v. United States, 48 Fed. Cl. 65 (2003), and the Federal
Circuit’s opinion in the interlocutory appeal, Tesoro, 405 F.3d 1339 (2005).

2. The Defense Energy Support Company (“DESC”) was formerly known as the
Defense Fuel Supply Center (“DFSC”) and is a field activity of the Defense Logistics
Agency (“DLA”), a component of the Department of Defense (“DOD”).

3. The regions are known as Petroleum Administration for Defense Districts
(“PADD’s”).

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Department of Energy (“DOE”). In 1995, the domestic bulk-fuel program
switched indexes from the PMM to Platt’s Oilgram Price Report (“Platt’s), a
well-known industry publication. Nine of the contracts involved in this suit
were awarded under other fuel programs and were tied to well-known price
indexes.4 These various price index publications are referred to as market-
based publications because they draw their price information from the market
as a whole and are not tied to a single supplier or refiner. See Tesoro II, 405
F.3d at 1345 (characterizing the issue as one of DESC’s liability for the use of
market-based EPA clauses).

        In 1992, this court held that PMM-based EPA clauses were a violation
of the applicable Federal Acquisitions Regulations (“FAR”). MAPCO Alaska
Petroleum, Inc. v. United States, 27 Fed. Cl. 405 (1992) (holding that the use
of the PMM violated FAR section 16.203 because it did not reflect changes in
the “contractor’s established prices”). Tesoro filed this suit in 2002. We
granted partial summary judgment to plaintiffs on the issue of the illegality of
the PMM-based clauses and on the defense of waiver, deciding that the term
“established prices” in FAR section 16.203-1 was used interchangeably by the
drafters of the FAR with the term “contractor’s established prices” in section
16.203-3. Tesoro Hawaii Corp. v. United States, 48 Fed. Cl. 65 (2003)
(“Tesoro I”). We subsequently certified the issues of illegality and waiver for
interlocutory appeal. The Federal Circuit took the appeal and consolidated it
with an interlocutory appeal on the same issues in Hermes Consolidated, Inc.
v. United States, 58 Fed. Cl. 409 (2003). The appellate court reversed our
decision regarding the PMM and FAR section 16.203, holding that the use of
PMM-based clauses was not invalid because the FAR allows for the use of
market-based indexes. Tesoro II, 405 F.3d at 1348.

Procedural History

      Subsequent to the Federal Circuit’s opinion, plaintiffs amended their
complaint. The Second Amended Complaint contains seven counts: illegality;
misrepresentation; breach of contract; implied-in-fact contract; failure of
consideration and frustration of purpose; mistake; and a constitutional taking.
Defendant has moved for dismissal, or, in the alternative, for summary
judgment on all counts. Defendant filed a supplemental appendix in support


4. One 1983 contract was tied to a Bureau of Labor Statistics (“BLS”) publication.
Contracts awarded to Tesoro in the cool barge program were tied to either the Oil
Price Information Service (“OPIS”) or the Lundberg Letter (“Lundberg”).

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of its application for summary judgment. We have not, however, considered
its contents for purposes of this opinion.

       Plaintiffs have filed a response and brief in opposition along with a two
volume appendix. We have not considered plaintiffs’ appendix for the
purposes of this opinion. Plaintiffs have also filed a motion and affidavit
pursuant to RCFC 56(f) asking the court either to reject defendant’s
application for summary judgment or for a continuance to permit discovery.

                                   DISCUSSION

I. Count I: EPA Clause Legality

       A. Contractor’s Established Prices

       Paragraphs 41 through 43 of count I allege the illegality of the EPA
clauses under the FAR.5 In paragraph 41, plaintiffs allege that DESC violated
FAR section 16.203 by using EPA clauses based on price indexes rather than
on “plaintiffs’ own established fuel prices.” 6 (Second Am. Compl. ¶ 41.)
(hereinafter “Compl.”)

        The Federal Circuit clearly rejected this argument: “a ‘contractor’s
established price’ may be established by reference to either a catalog or market
sources independent of the manufacturer or vendor.” Tesoro II, 405 F.3d at
1347. The Federal Circuit found that the definition of “established prices” in
FAR section 15.804-3 included “established catalog prices” and “industry




5. Paragraphs 44 through 46 concern other illegality claims not based on the EPA
clauses and are discussed later in this opinion.

6. FAR section 16.203-1, “Description,” states in relevant part, “Economic price
adjustments are of three general types: (1) Adjustments based on established prices.
These price adjustments are based on increases or decreases from an agreed-upon
level in published or otherwise established prices of specific items or the contract end
items.” (emphasis in the original). 48 C.F.R. § 16.203-1(a)(1) (2005).
         FAR section 16.203-3, “Limitations,” states: “economic price adjustments
shall not be used unless . . . it is necessary either to protect the contractor and the
Government against fluctuations in labor or material costs or . . . in the event of
changes in the contractor’s established prices.” 48 C.F.R. § 16.203-3 (2005).

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based prices, namely ‘established market prices.’” 7 Id. (citing 48 C.F.R. §
15.804). Because the FAR allows EPA clauses to be based on “established
market prices,” id., and not just “contractor’s established prices,” plaintiff’s
allegations in paragraph 41 fail to state a claim recognized by law.

       B. “Per se” Versus “as Applied” Illegality

       In response to Tesoro II, plaintiffs amended their complaint to allege
that, even if market-based indexes are allowed, DESC still violated FAR
section 16.203 by “basing price adjustments on indexes that were not market-
based, were not designed or intended to be used to set or adjust prices, and did
not reflect at least the fair market value of military fuel.” (Compl. ¶ 42.)
Plaintiffs attempt to distinguish Tesoro II by arguing that the Federal Circuit
only decided that the PMM-based clauses were not per se illegal. They quote
various sections of the Tesoro II opinion to the effect that market-based
indexes are legitimate under the FAR, but contend that the court never
specifically held that the PMM is a market-based index. (Pl.’s Op. 22-24
(citing Tesoro, 405 F.3d at 1342, 1343-44, 1348).) Plaintiffs point to a
footnote in their brief before the Federal Circuit in which they stated that only
the issue of per se illegality was before the court. They thus argue that it
would have been improper for the Federal Circuit to decide that the PMM was
actually a market-based index, because that is an issue of fact and not the
subject of either this court’s ruling or either parties’ position on appeal in
Tesoro II.

       Defendant responds that the language of the Tesoro II opinion is clear
that the PMM is an authorized market-based index. Defendant cites ten
statements within the Tesoro opinion to that effect. Defendant also explains
why the other indexes used in the contracts also pass muster under Tesoro II,
arguing that the additional indexes are clearly drawn from market sources and
are thus market-based.

        The Tesoro II opinion was the result of consolidated interlocutory
appeals from this court’s earlier decision in this case, 58 Fed. Cl. 65, and
Hermes Consolidated, Inc., 58 Fed. Cl. 409. In this case, the relevant question
certified for appeal was, “[d]id DESC establish the price of fuel in violation



7. It must be noted that FAR section 15.804 no longer appears in any form in the
2005 version of the Code of Federal Regulations (“CFR”). The last year in which
any form of section 15.804 appeared was 1996. 48 C.F.R. § 15.804. (1996). The
version cited in the Federal Circuit’s opinion is the 1994 edition.
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of law by employing economic price adjustment clauses indexed to the
PMM?” Tesoro II, 405 F.3d at 1342. In Hermes, the relevant question was,
“[was] DESC’s promulgation of the [EPA] clauses indexed to the PMM
unauthorized?” Id. The appeal to the Federal Circuit was thus not put in terms
of per se illegality versus some other type of illegality, but rather in more
general terms, namely, whether the PMM-based EPA clauses were authorized
under FAR section16.203. The court concluded that PMM-based EPA clauses
are valid: “DESC’s use of a market-based EPA clause tied to the PMM was
authorized under the FAR . . . .” Id. at 1348 (emphasis added).8

        The converse of a per se illegality argument is an “as applied” illegality
argument. Compare Tesoro II, with Smith v. Erickson, 961 F.2d 1387 (8th
Cir. 1992) (appellant claimed that prison’s denial of unlimited free postage and
stationary was illegal as applied to him because he was indigent), and National
Treasury Employees Union v. Reagan, 663 F.2d 239 (D.C. Cir. 1981)
(plaintiffs, who had been appointed for employment but were not yet in
service, argued that an executive department hiring freeze was illegal as
applied to them, because they had irrevocable appointments). Plaintiffs’
allegations in paragraph 42 are not analogous to these examples of “as
applied” claims. If the three failures of the PMM alleged in paragraph 42 were
violations of regulatory requirements, it is hard to imagine how the PMM
could have been applied legally in any similar contract. No such argument has
been made. The denomination of this as an “as applied” illegality argument
thus sets up a false dichotomy not anticipated by the regulations and not
adopted by the Federal Circuit.

        In any event, it is plain that an understanding that the PMM was a
market-based index was integral to the Federal Circuit’s ruling. The court laid
out what is acceptable for a price index under the FAR: “market sources
independent of the manufacturer or vendor. . . .” Tesoro II, 405 F.3d at 1347.
 Earlier in the opinion, the court described the PMM as a “report compiling the
monthly average sales figures for specified fuels for five regions . . . .” Id. at
1341. After the Federal Circuit addressed “contractor’s established prices”
and “established market prices,” it went on to address plaintiffs’ arguments


8. Also instructive is the court’s reasoning that the waiver question was moot.
“Because we conclude that DESC’s use of a market-based EPA clause tied to the
PMM was authorized under the FAR, we do not reach the other issues raised in the
certified questions.” 409 F.3d at 1348 (emphasis added). Had the Federal Circuit
intended there to be further legal tests for the PMM and other indexes, it would not
have viewed the question of waiver as moot.

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specifically in reference to the PMM. The court looked at plaintiffs’ reliance
on MAPCO. In that case, we held that the PMM-based clauses violated the
FAR because “the PMM does not reflect an ‘established market price.’ [It] is
an amalgamation of the previous month’s petroleum sales data. . . . [I]t is not
. . . determinative of any particular corporation’s current prices.” MAPCO, 27
Fed. Cl. at 410. The Federal Circuit rejected that analysis and ruled that the
FAR only required that the index use “market sources” and be “market-based.”
Tesoro II, 405 F.3d at 1348. Implicit in its holding was that the PMM is a
market-based index drawn from market sources. Plaintiffs’ allegations in
paragraph 42 fail to state a claim.

       C. FAR Section 15.802: Fair and Reasonable Prices

       Plaintiffs also allege that the use of the PMM and other indexes was a
violation of FAR section 15.802(b), which states that the contracting officer
must “[p]urchase supplies and services from responsible sources at fair and
reasonable prices,” 48 C.F.R. § 15.802(b)(1) (1994), because the effect of
these clauses was to establish prices that “were not fair and reasonable.” 9
(Compl. ¶ 43.) The government counters that plaintiffs cannot maintain a
claim under 15.802(b) because the section does not create a right in the
contractor, but is merely a directive to the government’s contracting officers.
We agree with the government.

        We start with the proposition that not all statutes and regulations confer
a judicial remedy upon potential claimants. See American Telephone &
Telegraph Co. v. United States, 307 F.3d 1374, 1377, 1379-80 (Fed. Cir.
2002) (“AT&T V”). In AT&T V, for example, Navy contracting officers
failed to obtain a statutorily-required departmental certification that would
have supplied the necessary authority to enter into the contract. This was a
violation of both statute and regulations. The Federal Circuit nevertheless held
that no remedy was afforded to contractors under the statute or the applicable
regulations, because they were promulgated to protect the government and did
not create a right in contractors. Id. at 1380; see also Freightliner Corp. v.
Caldera, 225 F.3d 1361, 1365 (Fed. Cir. 2000); Cessna Aircraft. Co. v. Dalton,
126 F.3d 1446, 1451 (Fed. Cir. 1997); Rough Diamond Co. v. United States,
351 F.2d 636 (Ct. Cl. 1965).

       We previously considered section 15.802 in a similar context in Short



9. FAR section 15.802 is now found at 15.402. We will refer to section 15.802 as
it was at the time of these contracts.
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Brothers. v. United States, 65 Fed. Cl. 695 (2005) (citing and applying AT&T
V). There we held that: “FAR provisions cited by plaintiff purport to do no
more than to provide internal government direction. . . . FAR § 15.802 . . .
only requires that the contracting officer ‘purchase supplies and services from
responsible sources at fair and reasonable prices.’ It does not afford a judicial
remedy.” Id. at 764-65 (internal citations omitted). We agree with the holding
in Short Brothers.10

        The preliminary section, 15.800, “Scope of subpart,” states, “[t]his
subpart prescribes the cost and price negotiation policies and procedures . . .
.” 48 CFR § 15.800 (1995).11 It is not a prohibition of any government
conduct, but rather a guide for the contracting officer. It therefore does not
afford any right of recovery to contractors. See AT&T V, 307 F.3d at 1379-80
(regulations provided guidance to the contracting officer and cautioned against
certain contract types, however, “a caution . . . is not a prohibition”). Section
15.802(b) does not afford a judicial remedy to plaintiffs. Paragraph 43 fails to
state a claim.

D. The “Other Indexes” Alleged to be Illegal

        In addition to the PMM, plaintiffs allege that they were harmed by the
use of other indexes in nine of the contracts at issue. They make these
allegations by employing the phrase “PMM and other indexes” throughout the
complaint. Plaintiffs, however, offer no additional explanation in their
complaint, briefing, or at oral argument as to why the other indexes were
illegal under the FAR. Plaintiffs include an entire preliminary section in the


10. Plaintiffs insist that the plain meaning of the regulation, the dictionary definition
of “fair;” the Armed Services Pricing Manual (“ASPM”); the Defense Procurement
and Acquisition Policy, Contracting Pricing Reference Guide; and even professors
Nash and Cibinic’s eSeries Government Contracts Reference Book all establish that
prices are to be fair and reasonable to both sides of the contract. While the cited
authorities may be wholly correct, none stand for the proposition that FAR section
15.802 (now at § 15.402) gives a right of enforcement to contractors. In fact,
professors Nash and Cibinic support the holding in Short Brothers: “The primary
focus of these requirements is to ensure that the Government does not pay
unreasonably high prices.” Formation of Government Contracts 1279 (3rd Ed. 1998)
(emphasis in the original). This makes sense given that these regulations were
promulgated in order to ensure that the government pay the lowest reasonable price.
Id.

11. Section 15.800 now appears at 48 CFR § 15.400 (2005).
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complaint entitled “PMM.” (Compl. ¶¶ 11-27.) There are no similar sections
included for any of the four additional indexes. Paragraph 27 simply states,
“[o]n information and belief, DESC also knew that some of the other indexes
it used to set or adjust prices were not appropriate for these purposes.”
(Compl. ¶ 27.)

        During oral argument, plaintiffs’ counsel pointed to some of the other
indexes used in these contracts as ones which should have been considered as
alternatives to the PMM. The court asked plaintiffs’ counsel, “What should
have been used instead of the PMM?” (Tr. at 18, Aug. 3, 2006.) The answer:
“There are a number of different potential markers that you could use there,
Your Honor. One of them might be Platts, one of them might be other indices
that are published.” (Tr. at 19.) Later in the same line of questioning,
plaintiffs’ counsel stated, “Could there have been a Platts number that worked
for some of those fuels? Very possibly. Could there have been a Lundberg?
Perhaps . . . .” (Tr. at 23 (referring to the “Lundberg Letter,” a commercial
petroleum market index).) Rather than providing grounds for the unique
illegality of other indexes, plaintiffs actually suggest that some of the “other
indexes” used in these contracts might have been better alternatives to the
PMM.

       We believe that no meaningful allegations or arguments have been
made concerning the other indexes to lead to a different outcome under Tesoro
II: “‘contractor’s established price’ may be established by reference to either
a catalog or market sources independent of the manufacturer or vendor.” 405
F.3d at 1347. It is clear that these indexes pass this test. Therefore, plaintiffs’
allegations fail to state a claim.

II. Count I: Other Illegality Claims

       Plaintiffs also challenge the legality of these contracts in two other
respects. First, paragraphs 44 and 45 challenge DESC’s small business set-
aside program. Paragraph 44 alleges that certain bid solicitation procedures
employed by DESC were “illegal auction techniques” in violation of the
Office of Federal Procurement Policy Act (“OFPPA”) and its implementing
regulations. Paragraph 45 alleges that DESC “improperly solicited and
awarded portions of the procurement set aside for small businesses together
with those for large businesses” in violation of the Department of Defense
FAR Supplement (“DFARS”) part 219. (Compl. ¶ 45.) Finally, plaintiffs
allege in paragraph 46 that DESC improperly awarded contracts under a
minority bidding preference in violation of the Fifth Amendment to the United
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States Constitution. The government challenges the allegations in paragraph
45 and 46 under RCFC 12(b)(1) as claims over which this court does not have
jurisdiction. It challenges paragraph 44 as failing to state a claim, or, in the
alternative seeks judgment under RCFC 56(b).

       A. Minority Bidding Preference

         We will consider plaintiffs’ allegations in paragraph 46 first because
that is the order in which the issues were briefed and it facilitates the analysis
of paragraph 45. In paragraph 46, plaintiffs allege that, “DESC knowingly
awarded and administered each of Plaintiff’s contracts in violation, inter alia,
of the equal protection component of the fifth amendment’s due process clause
by extending to minority-owned businesses bidding preferences that were not
narrowly tailored to further a compelling governmental interest.” (Compl. ¶
46.) In sum, plaintiffs are alleging that they were forced to bid lower than
market value to win the contracts in order to compensate for the minority
bidding preference.

       Defendant does not attempt to justify the minority bidding preference
on fifth amendment grounds, but rather points to the fact that the alleged
violation, even if presumed to be in contravention of the fifth amendment, has
no connection to the contracts at issue. Defendant argues, therefore, that it is
too late for this court to exercise jurisdiction over these allegations. The
proper time for challenging these preferences was in a pre-award bid protest.
We agree with defendant.

        The due process clause of the fifth amendment does not create a
substantive right of recovery under the Tucker Act, 28 U.S.C. § 1491. Hamlet
v. United States, 63 F.3d 1097, 1102 (Fed. Cir. 1995); LeBlanc v. United
States, 50 F.3d 1025, 1028 (Fed. Cir. 1995); Carruth v. United States, 627 F.2d
1068, 1081 (Ct. Cl. 1980). Plaintiffs point to no other statute that mandates
monetary compensation for a violation of the fifth amendment. Thus, under
the Tucker Act, a contract must underlie the claim. Trauma Services Group v.
United States, 104 F.3d 1321, 1325 (Fed. Cir. 1997) (holding that “either an
express or implied-in-fact contract” must underlie a claim).

       In their brief in opposition, plaintiffs rely on four cases to argue the




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   existence of jurisdiction over this type of claim.12 We have considered
them carefully and concluded that none of them support jurisdiction here.

       The first case on is Gould, Inc. v. United States, 67 F.3d 925 (Fed. Cir.
1995). Plaintiffs cite it for the proposition that “allegations that [sic] express
contract was entered into in violation of a statute ‘is sufficient . . . to confer
jurisdiction in the Court of Federal Claims.’” (Pl.’s Op. to Def.’s Mot. 54
(quoting id. at 930).) In Gould, the plaintiff sued under the theories that: 1) the
contract was a violation of 10 U.S.C. § 2306(h)(1)(D) (1982);13 2) the Navy
improperly withheld information from it and other bidders; and 3) there was
mutual mistake of fact. Gould, 67 F.3d at 928. The Federal Circuit held that
dismissal for lack of jurisdiction was inappropriate because the plaintiff
alleged both implied-in-fact and express contract claims. Gould, 67 F.3d at
929-30.

        In contrast, Tesoro’s claim is based on a fifth amendment challenge to
a bidding preference. As held by this court in a similar case, these allegations
find fault with the bidding process and not the contract itself. La Gloria Oil
and Gas Co. v. United States, No. 02-465C, 2006 U.S. Claims LEXIS 255, at
*65 (August 28, 2006). The proper avenue for a fifth amendment challenge
to the bidding process is a bid-protest action. See Rothe Dev. Corp. v. Dep’t
of Defense, 262 F.3d 1306 (Fed. Cir. 2001). Unlike in Gould, consequently,
plaintiffs’ contracts do not underlie their fifth amendment due process claim.

        Plaintiffs also argue that their case is similar to that asserted in National
Leased Housing Ass’n v. United States, 24 Cl. Ct. 647 (1991). In that case,
plaintiffs brought a claim in connection with housing assistance program
contracts. They asserted that the way in which their reimbursement rates were
adjusted violated the due process and equal protection clauses. Id. at 649, 655.
The court held that there was jurisdiction over such claims only to the extent
that the alleged violations constituted a breach of contractual provisions. Id.


12. Rothe Dev. Corp. v. United States Dep’t of Defense, 262 F.3d 1306 (Fed. Cir.
2001); Gould, Inc. v. United States, 67 F.3d 925 (Fed. Cir. 1995); LaBarge Prods.,
Inc. v. United States, 45 F.3d 1547 (Fed. Cir. 1995); Nat’l Leased Hous. Ass’n. v.
United States, 24 Cl. Ct. 647 (1991).

13. The alleged violation in Gould was a lack of the stable design required by the
statute in order for agencies to enter into multi-year contracts of the type at issue in
that case. 67 F.3d at 928.

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at 650. Plaintiffs argued that the proper interpretation of the contracts included
an obligation to comply with the fifth amendment. Id. at 652. The court did
not decide if any such an obligation arose in the contract, however, because it
found that there was no fifth amendment violation. Id. It therefore did not
reach the jurisdictional issue. Id.

        Plaintiffs further suggest that Rothe Development Corp. v. Department
of Defense, 262 F.3d 1306 (Fed. Cir. 2001), and LeBarge Products, Inc. v.
West, 46 F.3d 1547 (Fed. Cir. 1995), establish jurisdiction in this court through
an “implied obligation to treat a bid honestly and fairly.” (Pl.’s Op. 55.)
Rothe was a fifth amendment equal protection challenge to a minority
preference found in the National Defense Authorization Act of 1987, 10
U.S.C. § 2323 (1994), and was brought as a bid protest under the Tucker Act.
The Federal Circuit held that it had jurisdiction because “an unsuccessful
bidder can recover its bid preparation costs from the government on the theory
that failure to evaluate a ‘bid honestly and fairly’ breaches an implied-in-fact
contract of fair dealing.” Id. at 1316 (citing Coflexip & Servs., Inc. v. United
States, 961 F.2d 951, 952-53 (Fed. Cir. 1992)). No comparable bid protest
claim was made here.

       In LeBarge, plaintiff brought a post-award claim for reformation on two
independent grounds: existence of an implied obligation of fair dealing and the
use of illegal auction techniques. 46 F.3d at 1552. The court held that there
was jurisdiction because plaintiff’s claims related to the contract and were not
based solely on an implied obligation Id. at 1551-52 (there is no Contract
Dispute Act jurisdiction if there is no express contract). Additionally, the
court in LeBarge found that the FAR’s prohibition of auction techniques in
section 15.610 was implemented for the benefit of the contractor and thus
created a right of recovery. Id. at 1552. The court in LeBarge also
emphasized that the “operative facts” related to the contract claim. Id. at 1553.
Finally, in LeBarge, plaintiff did not know of the illegality until after its final
bid, thus making it impossible to have filed a pre-award bid protest. Id. at
1549-50.

        Contrary to Tesoro’s argument, the holding in LeBarge does not support
post-award jurisdiction on the singular basis of an implied obligation to treat
bids honestly and fairly. Rather, LeBarge’s claim was based on more than just
an implied obligation. Id. at 1551-52 (holding that LeBarge’s claims related
to the express contract). In the present case, the operative facts do not relate
to the contract because Tesoro chose to bid lower and thus avoid the
application of the minority preference. (Tr. at 47 (stating “you have to bid ten
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percent lower than the other guy to get the contract. . . . You can’t be
competitive unless you lower your price”).) See La Gloria, 2006 U.S. Claims
LEXIS at *63. Also in contrast to LeBarge, there is no statute or regulation
that creates a right of recovery. See LeBlanc, 50 F.3d at 1028 (the fifth
amendment provides no substantive right of recovery). Also relevant here is
the fact that, unlike LeBarge, Tesoro knew of the alleged illegal activity and
chose to forgo a pre-award bid protest. It adjusted its bid down to avoid the
minority preference and win the contract. See ConocoPhillips v. United
States, No. 02-1367C, 2006 U.S. Claims LEXIS 268, at *33-34 (Sept. 12,
2006) (“plaintiffs cannot on the one hand remain silent in the face of what
they now contend was a facially invalid solicitation and admittedly reduce their
prices to remain competitive . . . and then, on the other hand, seek many years
after the fact to challenge the prices they themselves had set”).

       Nor does the Rothe case support plaintiffs’ allegations. The plaintiff
in Rothe was a disappointed bidder who filed a bid protest, unlike the plaintiffs
here, who were awarded the contracts.14 No specific term in the contracts
between Tesoro and DESC was a violation of the fifth amendment. See La
Gloria, 2006 U.S. Claims LEXIS at *65; cf. Nat’l Leased Housing, 24 Cl. Ct.
at 650 (holding that alleged constitutional violations must constitute a breach
of contract in order to support jurisdiction). Rather, plaintiffs allege that they
were forced to bid 10 percent lower in order to circumvent the application of
the preference and win the award of the contract. This does not create a claim
arising under a contract, but was rather an election on the part of Tesoro to
avoid the application of the preference. See ConocoPhillips, 2006 U.S. Claims
LEXIS at *33-34. Therefore, we have no jurisdiction over plaintiffs’
allegations in paragraph 46.

B. Small Business Set-Aside

              1. Illegal Auction Techniques

       Plaintiffs allege that DESC’s small business set-aside program
constitutes a prohibited auction in that it gives small business offerors a price
they must match in order to be awarded contracts under the set-aside.
Plaintiffs argue that this “match price” method is a violation of FAR section
15.610 because it indicates to an offeror “a cost or price it must meet to obtain



14. Presumably, had the contracts not been awarded to plaintiffs, they would have
challenged the award through a bid protest.
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further consideration” and because it advises “an offeror of its price standing
relative to another offeror.” 15 (Pl.’s Op. 58-59 (citing 48 C.F.R. § 15.610).)
Plaintiffs also allege that DESC awarded contracts to bidders that agreed to
match other bidders’ prices in violation of the OFPPA, 41 U.S.C. § 423, by
illegally disclosing other bidders’ bid or pricing information.16

       Defendant does not challenge these factual allegations, but rather argues
that the program procedures are not auctions and are not prohibited by the
OFPPA or the FAR.17 Defendant argues that its match price method is not an
auction because it does not cause “direct bidding of price between two


15. FAR § 15.610 (1984) predated the enactment of the OFPPA, and was first
tied to it in 1991. 48 C.F.R. § 15.610 (1991). Tesoro challenges the contracts
entered into prior to 1984 under FAR § 15.610 alone. (Pl.s Op. 58 n.66). FAR §
15.610 was repealed in 1997.

16. The provisions of the OFPPA at issue here were enacted in 1988, Pub. L. No.
100-679, § 6, 102 Stat. 4055, and later amended in 1996, Pub. L. No. 104-106, §
4304, 110 Stat. 659.

17. The OFPPA states in relevant part, “A person described in paragraph (2) shall
not, other than as provided by law, knowingly disclose contractor bid or proposal
information or source selection information before the award of a Federal agency
procurement contract to which the information relates.” 41 U.S.C. § 423(a)(1).
        FAR section 15.610(e) states in relevant part:

       (e) The following may constitute prohibited conduct under section
       27 of the [OFPPA] . . .
       (1) Technical transfusion (i.e., Government disclosure of technical
       information pertaining to a proposal that results in improvement of
       a competing proposal; or
       (2) Auction techniques, such as –
       (i) Indicating to an offeror a cost or price that it must meet to
       obtain further consideration;
       (ii) Advising an offeror of its price standing relative to another
       offeror. . . .
       (iii) Otherwise furnishing information about other offerors’ prices.

FAR § 15.610(e).




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competing offerors.” (Def.’s Mot. 34 (citing DGS Contract Serv., Inc. v.
United States, 43 Fed. Cl. 227, 239 (1999).) It argues that the set-aside simply
gives small business offerors an opportunity to match “the price the
Government otherwise would pay, adjusted for the transportation cost the
Government would incur.” (Def.’s R. to Pl.’s Op. 25.) Defendant contends
that this is authorized by the FAR and was contemplated by the original
version of the OFPPA, which stated that bid information could be released to
“a person authorized by the head of such agency or the contracting officer.”
Pub. L. No. 100-679, § 6, 102 Stat. 4055, 4063 (1988).

        This court has defined the term “auction” to mean “direct bidding of
price between two competing offerors.” DGS Contract Serv., 43 Fed. Cl. at
239; M.W. Kellog Co. v. United States, 10 Cl. Ct. 17, 24 (1986). This
definition is directly relevant here. In DGS Contract Serv., the court addressed
both the OFPPA and FAR section 15.306 (previously 15.610). See 48 C.F.R.
§ 15.306 (1998). In M.W. Kellog Co., the court considered the disappointed
bidder’s suit under section 15.610. In both of those cases, the plaintiffs were
disappointed bidders. The plaintiffs directly bid against other bidders in the
same procurement program, which continued through multiple rounds of bid
solicitations. The courts in those cases held that the procurement processes
were not auctions despite the multiple rounds of solicitations. DGS Contract
Serv., 43 Fed Cl. at 242 (holding that the multiple bid solicitations and
disclosure of limited price range information was not prohibited under the
OFPPA or the relevant regulations); M. W. Kellog Co., 10 Cl. Ct. at 24
(holding that the disclosure of the price goal that the government would pay
between the rounds of proposals was not an auction prohibited by FAR section
15.610).

        Here, plaintiffs have failed to allege facts sufficient to state a claim for
an illegal auction prohibited by the OFPPA or the FAR. There was no back
and forth bidding between competing offerors that would indicate direct
bidding between them. A good example of direct bidding is found in LeBarge,
46 F.3d 1547. There, the government solicited bid proposals for the fitting of
couplings that would connect aluminum piping for various installation work.
Id. at 1549. LeBarge’s bid proposal was the lowest, but the Army was
concerned that LeBarge was not the same company that would be laying the
pipes. The next lowest bidder, Victualic, was informed that LeBarge was the
low bidder and the Army then requested best and final offers from both
companies. LeBarge informed the contracting officer that it would not lose the
contract and would rebid at a lower price. The fact that LeBarge intended to

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bid in the “low 30's” was mysteriously18 disclosed to Victualic before the
second round of bid proposals. LeBarge still offered the lowest bid and
Victaulic filed a pre-award bid protest with the General Accounting Office,
where LeBarge learned of the disclosure for the first time. LeBarge was
eventually awarded the contract and filed a claim for contract reformation on
the basis that the illegal disclosure of bid information caused it to bid too low.
The Federal Circuit ultimately held that, although the disclosure of bid
information was a violation of the FAR, LeBarge was not harmed by the the
disclosure because it did not know of the disclosures until after its bid
proposals. Id. at 1556.

        In the present case, however, there were not multiple rounds of bid
solicitations. DESC simply “awarded contracts to bidders that agreed to match
other bidder’s prices.” (Compl. ¶ 44). There is no real dispute over what the
set-aside program involves. Plaintiffs cite the government’s brief for a
description of the program: “DESC informs small businesses of the price that
the Government would otherwise pay for a particular fuel product (as the result
of a pending fuel solicitation).” (Pl.’s Op. 58 (citing Def.’s Mot. at 33).) The
price is then adjusted for transportation costs and small businesses can choose
whether to match this price. This is not in any sense direct bidding of one
offeror against another.

       The second reason DESC’s set-aside is not an auction is that larger
businesses are not in direct competition with small businesses. Instead, a set-
aside program effectively takes a portion of the fuel needed and places it in a
separate procurement program to be awarded to small businesses. This is not
the sort of situation contemplated by either the OFPPA or the FAR. Indeed,
quite the opposite. FAR section 19.502 mandates set-aside programs
whenever certain conditions in section 19.502-1 and 2 are met. 48 C.F.R. §
19.502-1(a)(1-2). Section 15.508 requires the contracting officer to use the
FAR-mandated clause provided in section 52.219-7 in all solicitations and
contracts awarded to small businesses under the set-aside. 48 C.F.R. § 15.508.
Section 52.219-7, “Notice of Partial Small Business Set-Aside,” provides the
mechanism for awarding the set-aside portion: “The set-aside portion will be
awarded at the highest unit price(s) in the contract(s) for the non-set-aside
portion.” 48 C.F.R. § 52.219-7(b)(3). The government is actually required to
use a “match-price system.” Under plaintiffs’ reasoning, every small business



18. There was no evidence in the record as to who actually disclosed the
information.
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set-aside under section 15.508 would necessarily constitute a prohibited
auction, because section 52.219-7 requires that the government award the set-
aside contracts “at the highest price . . . for the non-set-aside portion”-- a
“match-price” procedure. Id. One part of the FAR should not be read to
prohibit what another part expressly mandates.

       The only difference between DESC’s program and that required by the
FAR is that DESC awards the non-set-aside portion before it awards the set-
aside. This minor difference, however, does not change our holding. DESC’s
small business set-aside is not an auction because there is no “direct bidding
between competing offerors.” See DGS Contract Serv., 43 Fed. Cl. at 239.

              2. Awarding Portions of the Set-Aside Together with the
              Normal Procurement

       Plaintiffs also challenge DESC’s small business set-aside on the
grounds that it violates DFARS part 219 and the relevant FAR section
(52.219-7). FAR section 52.219-7 instructs contracting officers to evaluate
offers on the non-set-aside portion and to make an award on this portion
before offering the adjusted matching price under the set-aside program. 48
C.F.R. § 52.219-7. In contrast, DESC does not first award the contracts for the
non-set-aside portion. It solicits bids on the non-set-aside portion first, but
then selects the lowest price and uses it to set the price for the set-aside. Any
portion not awarded (“set-aside failure”) is put back into the non-set-aside
procurement totals and the larger contracts are then awarded at the original
non-set-aside bid price.

       Once again, defendant does not challenge the factual allegations in
paragraph 45, but instead argues that its set-aside program is substantially
similar to that of FAR section 52.219-7 and that it has authorized deviations
that permit it to use this slightly different procedure. Defendant also argues
that Tesoro has not alleged that it was harmed in a concrete way as
contemplated by the FAR. Finally, defendant challenges these as allegations
over which this court does not have jurisdiction because they amount to a
facial attack on DESC’s small business program and do not constitute a
contract dispute.

       We need not reach the merits of plaintiffs’ argument, or the defense of
an authorized deviation. We find there is no jurisdiction over plaintiffs’
allegations in paragraph 45. The proper avenue in this court for Tesoro to
challenge the small business program would have been a pre-award bid
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protest. La Gloria, 2006 U.S. Claims LEXIS at *71-72. As the successful
bidders, plaintiffs cannot challenge the award to themselves as illegal. Cf.
Am. Fed’n of Gov’t Employees v. United States, 258 F.3d 1294, 1302 (Fed.
Cir. 2001) (“Congress intended to extend the jurisdiction of the Court of
Federal Claims to include post-award bid protest cases brought under the APA
by disappointed bidders . . . .”) (emphasis added). Nor have plaintiffs pointed
to any specific contractual term or obligation which was allegedly illegal.

        Absent any contractual or bid-protest basis for these allegations, they
amount to a facial attack on the set-aside program. We lack jurisdiction over
such claims. We, therefore, do not reach DESC’s other arguments in respect
to the legality of its deviations.

III. Count II: Misrepresentation

        In count II, plaintiffs allege that the PMM and other indexes were
defective in five respects. Plaintiffs also allege that DESC knew and then
either misrepresented or failed to disclose these defects to plaintiffs. The
alleged defects are: 1) DESC’s violation of law and regulation in the award
and administration of the contracts; 2) DESC’s basing the EPA clauses on
indexes that were not adequate to accomplish their stated purpose of protecting
against market fluctuations and ensuring the payment of at least fair market
value; 3) DESC’s use of of indexes that were not “designed or intended to be
used to set or adjust prices and did not reflect at least fair market value” or fair
and reasonable prices; 4) DESC’s knowledge that the contracts did not provide
for the payment of fair market value; and 5) DESC worked with DOE to
determine how the PMM would be published and to insure that DESC’s needs
were satisfied as “one of the primary users of the PMM.” (Compl. ¶¶ 51-60.)
Plaintiffs cite several cases for the proposition that price is always an essential
and material element to any contract. Roseburg Lumber Co. v. Madigan, 978
F.2d 660, 666 (Fed. Cir. 1992); Interstate Plywood Sales Co. v. Interstate
Container Corp., 331 F.2d 449, 452 (9th Cir. 1964). Plaintiffs allege that they
relied on these material and or fraudulent misrepresentations as inducements
to enter the contracts.

       Defendant counters by arguing that it had no duty to disclose the alleged
information and that none of it was actually material to the bargain. It states
that the terms of the contract were for the purchase and delivery of fuel to
specified locations for prices set by a specific formula. It argues that plaintiffs
have failed to state a claim because they have not alleged that any part of the
contracts was ambiguous, or that DESC failed to honor the price, or that the
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clause failed to operate as the contract described.

        A claimant may prevail on a claim for misrepresentation when it can
show that “the Government made an erroneous representation of material fact
that the contractor honestly and reasonably relied on to the contractor’s
detriment,” T. Brown. Constructors, Inc. v. Sec’y of Transp., 132 F.3d 724,
729 (Fed. Cir. 1997), or when the government fails to disclose information that
it has a duty to disclose. Massman Contracting v. United States, 23 Cl. Ct. 24,
32 (1991). The government has a duty to disclose when the contractor: 1)
undertook to perform without knowledge of a fact that affects performance,
costs, or direction; 2) the government was aware of the lack of knowledge and
the fact that the contractor had no reason to obtain it; 3) any contract
specification supplied by the government misled the contractor and did not put
it on notice to inquire; and 4) the government failed to provide the relevant
information. AT&T Commc’n, Inc. v. Perry, 296 F.3d 1307, 1312 (Fed. Cir.
2002). Stated another way: “Where the government possesses special
knowledge not shared by the contractor, which is vital to the performance of
the contract, the government has an affirmative duty to disclose such
knowledge . . . .” Massman Contracting, 23 Cl. Ct. at 31. There is, however,
no duty to disclose if the information is reasonably available. Id. at 32 (citing
Utility Contractors, Inc. v. United States, 8 Cl. Ct. 42, 45 (1985)).

      Plaintiffs have failed to allege a valid claim of affirmative
misrepresentation. As a preliminary matter, plaintiffs’ allegations concerning
DESC’s representations that it would follow the law and regulations in its
award and administration of the contracts fail to state a claim as a matter of
law. We have already held that the EPA clauses were not illegal and thus
DESC cannot have misrepresented that it would it follow the law.

      Nor have plaintiffs alleged any affirmative statements upon which
Tesoro could reasonably have relied. The allegations all state simply that
DESC “misrepresented and otherwise failed to disclose . . . .” (Compl. ¶¶ 56-
60.) None of the allegations point to any specific written or oral statements by
defendant upon which plaintiffs could have relied.19 See La Gloria, 2006 U.S.


19. A DLA memorandum of January 5, 1993, referred to in the complaint, (¶ 10),
arguably contains relevant language (EPA clauses were intended to “ensure [] that
the contract price will be awarded and remain at the market price . . . which is fair
and reasonable”), but this memorandum is an internal government document,
written ten years after the first of the contracts at issue. (continued . . .)

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Claims LEXIS at *80-81 (plaintiff failed to identify any particular document
or oral representation that the prices defendant paid on the contract would
reflect at least fair market value).

       None of the alleged statements by defendant rose to the level of a
warranty guaranteeing that Tesoro would receive fair market value or that the
indexes were anything other than what they purported to be. Compare (Compl.
¶¶ 51-55), with T.F. Scholes, Inc. v. United States, 174 Ct. Cl. 1215, 1225
(1966) (holding that a contractor had the right to rely on affirmative
representations by the government as to the subsurface conditions at the
construction sites and that such representations amounted to a warranty).

       Paragraph 14 of the complaint is revealing: “In basing price
adjustments on PMM, DESC represented and warranted that PMM was
adequate to accomplish its purposes of protecting against market fluctuations
and ensuring that the prices DESC paid for military fuel reflected at least fair
market value.” (Compl. ¶ 14.) Tesoro effectively is claiming that the use of
the PMM and, by inference, other indexes, was a guarantee that it would
receive fair market value. Plaintiffs, however, have not provided this court,
in their complaint, briefing, or at oral argument, with an actual measure of
what fair market value was at the time of these contracts. At oral argument the
court asked: “But you haven’t given me anything that is ‘fair market value.’”
Plaintiffs’ counsel replied: “It will be a factual issue.” (Tr. at 58-59.) If fair
market value is not readily ascertainable, it can hardly constitute an affirmative
misrepresentation of fact. At best, such statements would merely be
aspirational.




(. . . continued)
There are two other internal documents cited in the background allegations
concerning the PMM: a January 1986 DESC assessment of the movements of the
PMM compared to other market indexes, (Compl. ¶ 18), and a March 1989
memorandum from DESC’s Office of Market Research and Analysis, which states
that the DOE “will work with us to see that our needs are satisfied as we are one
the primary users of the PMM.” (Compl. ¶ 12.) As internal statements, these
documents cannot serve as a basis for the argument that DESC “represented and
warranted,” (Compl. ¶ 14), to Tesoro that the indexes used would ensure at least
fair market value. See ConocoPhillips, 2006 U.S. Claims LEXIS at *24
(“noticably absent . . . is any allegation that the contracting officer actually made
representations . . . directly to plaintiffs”); see also La Gloria, 2006 U.S. Claims
LEXIS at *81-82.
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        The use of a price escalator in a long term contract is an attempt by both
parties to protect themselves from the risks inherent in such contracts. These
clauses are an educated guess at how to best measure the future movements of
the market. Any alleged statements regarding the PMM and other indexes
must be viewed in this context. Cf. Glopak Corp. v. United States, 12 Cl. Ct.
96, 103 (1987) (holding that an alleged statement by a government
representative that the EPA clause could not work to plaintiff’s detriment was
not a misrepresentation because it could not have been reasonably relied upon:
“the statement in question cannot be read, in the context of the parties’
negotiations, as more than a general commentary on the operation of the EPA
clause”), aff’d, 851 F.2d 334 (Fed. Cir. 1988). A misrepresentation must be
of an affirmative fact, knowable and ascertainable at the time of the alleged
representation, and not a guess as to some future event. Fed Group, Inc. v.
United States, 67 Fed. Cl. 87, 102 (2005); Restatement (Second) of Contracts,
§ 159 cmt. c (1981). Statements regarding the ability of market indexes to
track the market or ensure the payment of fair market value concern future
events and provide no basis for a claim of misrepresentation.

        Plaintiffs also have failed to allege a valid claim for failure to disclose
vital information. The superior knowledge doctrine normally arises when the
undisclosed information is vital to the performance of the contract. See, e.g.,
Helene Curtis Indus., Inc. v. United States, 312 F.2d 774, 778, (Ct. Cl. 1963)
(government had a duty to disclose that a chemical compound would require
grinding in order to meet the specifications when the specifications themselves
would lead one reasonably to infer that simple mixing was all that was
required); Massman Contracting, 23 Cl. Ct. at 32 (the government had no duty
to disclose that water flow had been higher than normal in recent years because
that information was reasonably available). The allegations made by plaintiffs
here materially differ from those that the law encompasses. The alleged
failures to disclose in this case are not “vital to the performance of the
contract.” Id. at 31. The contracts at issue called for the purchase and delivery
of fuel with a price set by a specific formula. None of the alleged failures to
disclose affected Tesoro’s ability to deliver the fuel or DESC’s ability to pay
for it. All 39 contracts at issue were fully performed. Ultimately, there is no
allegation that the pricing mechanism did not perform as described in the
contract. See La Gloria, 2006 U.S. Claims LEXIS at *83-85 (“The plain
language of the contract describes how the PMM works”).

       The allegations of misrepresentation also fail to state a claim because
the nature of the PMM and the other indexes used was a fact readily available
to plaintiffs. Id. at *82, 84. Tesoro is an experienced oil company. These
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contracts involved nearly one billion dollars in fuel. (Compl. ¶ 7.) Tesoro
certainly had knowledge of or reason to inquire about the nature of these
indexes if it did not already know. See GAF Corp, 932 F.2d at 949
(government has a duty to disclose only if it was aware that “the contractor had
no knowledge of and had no reason to obtain such information . . . .”). Both
the PMM and the commercial indexes were readily available to plaintiffs.
Tesoro was either aware of the way in which the indexes operated or was at
least on notice to inquire. See La Gloria, 2006 U.S. Claims LEXIS at *82-83.


        Plaintiffs also allege a misrepresentation in failing to disclose DESC’s
role in the publication of the PMM. Plaintiffs do not allege any additional
facts, besides an apparent quotation from a DESC official to the effect that the
DOE would ensure that DESC’s needs were satisfied in the publishing of the
PMM. (Compl. ¶ 55.) Plaintiffs have not alleged how this misled them in any
way. Also absent is any allegation that DESC’s involvement actually affected
the prices reported. The allegations in paragraph 55 are a bald assertion of
general wrongdoing and do not provide a basis for a claim of
misrepresentation. Plaintiffs’ allegations in count II fail to state a claim.

IV. Count III: Breach of Contract

        In count III, plaintiffs contend that the following were material
conditions upon which they reasonably relied in entering the contracts: 1)
DESC’s compliance with law and regulation in awarding and administering
the contracts; 2) DESC’s basing the EPA clauses on indexes that were
adequate to accomplish the stated purposes of protection from market
fluctuations and to ensure that DESC paid at least fair market value for the
fuel; 3) DESC’s use of indexes in its EPA clauses that were designed or
intended to be used to set or adjust prices and which reflected at least fair
market value of fuel; 4) DESC’s payment of at least fair market and reasonable
prices; and 5) DESC’s good faith in negotiating and administering the
contracts. (Compl. ¶¶ 65-69). Paragraphs 70 through 74 allege breaches of all
of these conditions. While none of these allegations are grounded in any
particular contract provision, plaintiffs argue that these conditions are drawn
from the purpose of the EPA clauses. Plaintiffs also cite Spearin v. United
States, 248 U.S. 132 (1918), for the proposition that “DESC warranted that the
indexes it picked to set prices would be adequate to accomplish the purpose for
which they were used - namely to reflect changes in economic conditions
during the term of the contracts.” (Pl.’s Op. 39 (citing id. at 136.)

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       Defendant counters that the plain language of the contract provides no
grounds for such conditions. It argues that the contract is unambiguous and
that there is no basis for reformation or any other remedy when the express
conditions of a contract have not been breached.

       We review a breach of contract at its starting point, the language of the
contract itself. M.A. Mortenson Co. v. Brownlee, 363 F.3d 1203, 1206 (Fed.
Cir. 2004). While the contract should be construed to “effectuate its spirit and
purpose giving reasonable meaning to all parts of the contract,” id., the “plain
and unambiguous meaning of a written agreement controls.” Hercules, Inc. v.
United States, 292 F.3d 1378, 1381 (Fed. Cir. 2002) (quoting Craft Mach.
Works, Inc. v. United States, 926 F.2d 1110, 1113 (Fed. Cir. 1991)).

        Tesoro’s allegations of breach of contract fail to state a claim because
it has not alleged any breach of an express contract provision. The
unambiguous language of the agreement will not be defeated by an alleged
“spirit of the document” that would purport to add new contractual obligations,
such as ensuring the payment of at least fair market value. Plaintiffs’ claim
that DESC acted in contravention of contractual obligations is insufficient
without citation to specific contract language. Plaintiffs’ citation to the title
of the EPA clause, “Economic Price Adjustment - Published Market Price,”
adds no substance. See La Gloria, 2006 U.S. Claims LEXIS at *91. The title
merely suggests that a market-based index will be used. Plaintiffs have not
alleged that DESC actually failed to follow the formula in setting the price.

       Plaintiffs’ citation to Barrett Refining Corp. v. United States, 242 F.3d
1055 (Fed. Cir. 2001), and Beta Systems, Inc. v. United States, 838 F.2d 1179
(Fed. Cir. 1988), does not change our analysis. In Barrett, this court found an
EPA clause illegal and we allowed recovery on the basis of an implied
agreement to pay fair market value. 45 Fed. Cl. 166, 170 (1999). That holding
was upheld on appeal. 242 F.3d at 1060. In this case, the price term cannot
be assumed to be illegal and thus Barrett does not apply.

        In Beta Systems, similar to Barrett, the EPA clause at issue was found
to be a violation of the applicable Defense Acquisition Regulations (“DAR”).
838 F.2d at 1185-86. Subsequent to Beta Systems, the Federal Circuit further
clarified its holding by rejecting a similar argument to Tesoro’s in Glopak, 851
F.2d at 339. The issue was not, as Tesoro argues here and the plaintiff in
Glopak argued, whether the index properly tracked the price of materials. Id.
The court held that Glopak improperly stated the holding in Beta Systems:
“The issue before the court with respect to the [EPA] clause there involved
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was whether the particular . . . index used to determine price adjustments under
the contract complied with the [DAR] . . . .” Id.

        In the present case, the holding in Tesoro II established that there was
no illegality in the use of market-based EPA clauses. 405 F.3d at 1348. The
price clause is therefore not illegal and the language of the contract controls.

        Plaintiffs’ allegations, in any event, amount to an attempt to import new
terms into the contract after it has been fully performed. See Thomas Creek
Lumber & Log Co. v. United States, 32 Fed. Cl. 787, 792 (1995). Thomas
Creek Lumber involved a contract for the sale of timber. Plaintiff claimed that
the Bureau of Land Management (“BLM”) had breached the contract by not
suspending harvesting when it discovered the presence of an endangered
species. Id. at 791. Plaintiff argued that this contractual obligation was
incorporated through a BLM policy memorandum. Id. This court held that the
internal BLM memorandum was not part of the contract and provided no basis
for a breach of contract claim. Id. at 792. Similarly, in the present case,
plaintiffs would have us derive contractual obligations from sources outside
of the contract, such as internal DESC memoranda. We decline to do so. See
ConocoPhillips, 2006 U.S. Claims LEXIS at *21 (“We are unable to find . . .
any breach of contract based on a failure to pay fair market value when the
government both clearly stated and complied with the contracts’ actual pricing
terms”).

        We are also not persuaded by plaintiffs’ reliance on Spearin. That case
stands for the proposition that when the government requires the contractor to
build to certain specifications, it impliedly warrants the accuracy of those
specifications. 248 U.S. at 137. There, the government contracted to have a
sewer built to exact measurements. The contractor built to the specifications,
but the sewer was inadequate and the resulting flooding interfered with the rest
of construction. Id. at 134. The government was held liable because it
impliedly warranted that its specifications were sufficient. Id. at 137. In the
present case, nothing in the EPA clause failed to operate as advertised, nor did
the clause interfere with Tesoro’s ability to fulfill its obligations. Plaintiffs’
breach of contract allegations fail to state a claim because no breach of an
express contract provision is alleged.

V. Count IV: Implied-In-Fact Contract

       Count IV is a repackaging of the illegality claims in count I. Count IV
alleges that DESC “knowingly awarded and administered Plaintiffs’ contracts
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in violation of law and regulation.” (Compl. ¶ 79). This violation rendered “at
least the price terms of Plaintiffs’ contracts invalid and unenforceable.” ( Id.
at ¶ 80). Plaintiffs thus argue that an implied-in-fact agreement was created
which required the government to pay at least fair market value for the fuel
that it purchased.

        Plaintiffs rely on the Federal Circuit’s ruling in Barrett, which upheld
this court’s holding that an illegal EPA clause was replaced with an implied-
in-fact promise to pay fair market value. 242 F.3d at 1059-60. As we explain
above, the illegality of the PMM clauses was not at issue before the Federal
Circuit. Id. at 1058. Based on MAPCO, the PMM clauses had been held to
be illegal and the government did not appeal that ruling. The Federal Circuit
only decided the issue of whether it was proper for this court to hold that an
implied-in-fact promise to pay fair market value arose on failure of the EPA
clause.20 Id. at 1059-60. In the present case, the legality of the PMM clauses
was upheld by the Federal Circuit and thus no implied-in-fact term could arise.
See ConocoPhillips, 2006 U.S. Claims Lexis at *22 (“we have no need to
resort to an implied-in-fact contract theory when we find no illegality”).
Accordingly, Count IV fails to state a claim.

VI. Count V: Failure of Consideration and Frustration of Purpose

        In count V, plaintiffs allege that part of the consideration upon which
they relied in entering the contracts failed for the following reasons: 1) DESC
did not award and administer the contracts legally; 2) DESC did not base EPA
clauses on adequate price indexes; 3) DESC did not pay at least fair market
value; and 4) DESC did not negotiate the contracts in good faith. Plaintiffs
also allege that these actions materially frustrated the purpose of the contracts.

       These legal theories, however, are properly considered defenses for
non-performance and not a basis for affirmative claims. See Perpetual Fin.
Corp. v. United States, 61 Fed. Cl. 126, 138 (2004) (frustration of purpose, a
defense for nonperformance, is not a separate cause of action); Sinclair v.
United States, 56 Fed. Cl. 270, 281 n.14 (2003) (granting the government’s
motion for summary judgment as to plaintiff’s claims based upon, among other
things, frustration of purpose). See also First Fed. Sav. & Loan Assoc. of


20. Also appealed was this court’s holding that the government could not assert a
counterclaim for any amount it paid in excess of fair market value. Barret, 242 F.3d
at 1058 (the Federal Circuit reversed on that issue and held that the government could
assert a valid counterclaim).
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Rochester v. United States, 58 Fed. Cl. 139, 159 (2003). The rules of this
court make clear that failure of consideration is an affirmative defense which
must be affirmatively pleaded in a responsive pleading. RCFC 8(c). See also
id. (if a party mistakenly pleads one of these defenses as a counterclaim, the
“court on terms, if justice so requires, shall treat the pleading as if there had
been proper designation.”) Neither of these theories support a claim for
affirmative relief. Count V fails to state a claim.

VII. Count VI: Mistake

        Count VI alleges mutual mistake of fact, or, in the alternative unilateral
mistake. The allegations are nearly identical to those in Count II in that the
misrepresentations are repackaged in the form of allegations of mistake.
Plaintiffs allege that they intended that the contracts: 1) would follow law and
regulation; 2) would use indexes that were adequate for the stated purpose of
insuring the payment of at least fair market value; 3) would be designed and
intended to set or adjust prices; 4) and would ensure that plaintiffs receive at
least fair market value for their fuel. (Compl. ¶¶ 103-106.) Plaintiffs allege
that these were material conditions upon which they relied in entering the
contracts. Plaintiffs then allege that if the government did not knowingly
violate all of these conditions, it must be presumed to have intended to use
clauses which would have fulfilled all of these conditions. Plaintiffs allege
that if they had known that none of these conditions would be realized, they
would not have entered into these contracts.

       In the alternative, plaintiffs allege that if DESC was not mistaken, then
DESC knew or should have known of plaintiffs’ mistake and yet failed to
timely disclose such information. (¶¶ 123-126.) Plaintiffs cite to Beta
Systems, 838 F.2d at 1184-86, for the proposition that the use of an EPA
clause that did not “fairly measure the economic situation actually confronting
the contractor” supports a claim for mistake.

       Defendant counters that the mistakes alleged here did not concern facts
that had “come into existence at the time of contracting.” (Def.’s Mot to
Dismiss 26.) See Atlas Corp. v. United States, 895 F.2d 745, 750 (Fed. Cir.
1990). Rather, defendant insists that these allegations are, at best, mistakes of
judgment concerning events yet to occur. See Dairyland Power Cooperative
v. United States, 16 F.3d 1197, 1202 (Fed. Cir. 1994). It argues that no
allegation has been made which identifies the indexes as anything besides what
they actually are: publications of certain price data. Defendant argues that any
unilateral mistake was one of erroneous prediction or judgment on the part of
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plaintiffs and not the sort of clerical or arithmetical error that is required for
a valid claim of unilateral mistake. It cites United States v. Hamilton
Enterprises, 711 F.2d 1038, 1046 (Fed. Cir. 1983) and Dale Ingram, Inc. v.
United States, 475 F.2d 1177, 1186 (Fed. Cir. 1983). Defendant also points
out that the alternative test for unilateral mistake is one of unconscionability
and that no such facts have been alleged. See J&E Salvage v. United States,
37 Fed. Cl. 256, 256 (1997).

        A claim for a mutual mistake of fact can be established when all four
of the following elements are met: “1) the parties to the contract were mistaken
in their belief regarding a fact; 2) that mistaken belief constituted a basic
assumption underlying the contract; 3) the mistake had a material effect on the
bargain; and 4) the contract did not put the risk of the mistake on the party
seeking reformation.” Dairyland, 16 F.3d at 1202 (quoting Atlas Corp., 895
F.2d at 750). The mistake must concern a fact that existed at the time of
contracting. Atlas Corp., 895 F.2d at 750. Therefore, “[a] party’s prediction
or judgment as to events to occur in the future, even if erroneous, is not a
mistake.” Dairyland, 16 F.3d at 1203 (quoting the Restatement (Second) of
Contracts § 151 cmt. a). Nor will a mere mistake of judgment support a claim
for relief. Liebherr Crane Corp. V. United States, 810 F.2d 1153, 115-58 (Fed.
Cir. 1987).

       As we previously held, supra section I, defendant did not violate any
laws or the FAR in its use of the PMM and other market-based indexes. See
Tesoro II, 405 F.3d at 1348. Consequently, any alleged error arising out of an
assumed illegality fails.

       Plaintiffs’ allegations of a mistaken belief that DESC would use EPA
clauses to guarantee the payment of at least fair market value also fail to state
a claim. As this court recently held in a similar case:

       When sophisticated parties chose a mechanism on which to base
       price adjustments, the parties each assume the risk that the
       measure will not reflect exactly what they hoped it would. In
       this case, each party understood what the PMM measured, and
       each party was responsible for determining the issues that were
       important to it with regard to the way in which the indexes
       worked. To the extent that the parties did not understand what
       the PMM measured -- and to the extent that plaintiff thought the
       PMM would be adequate “to protect against market fluctuations
       and to ensure that the prices DESC paid for military fuel
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       [would] reflect[] at least fair market value,” that was an error of
       judgment . . . or a case of a party treating its limited knowledge
       as sufficient . . . as to which the party proceeded at its own risk.

La Gloria Oil, 2006 U.S. Claims LEXIS at *108-109 (internal citations
omitted).

        Put another way, whether the selected indexes would result in a price
that reflected fair market value is a question of judgment. Plaintiffs knew how
the pricing clauses would operate. The contract language was unambiguous.
The decision to enter into these contracts in the hope of receiving fair market
value thus required an exercise of judgment on plaintiffs’ part. See Glopak,
851 F.2d at 338 (plaintiff could not state a valid claim for undue surprise
because plaintiff was not ignorant of the nature and operation of the EPA
clause; accordingly it was held to be an error of business judgment). Plaintiffs
cannot now complain that “as a result of changes in the Price Index, []
performance of the contract did not work out financially as [they] had
anticipated and hoped it would.” Id.

        Plaintiffs’ allegation concerning the use of indexes not designed to set
or adjust prices also fails to state a claim. Whether the original publishers of
the indexes intended for them to be used by DESC or anyone else to set prices
was not an element of the bargain between DESC and Tesoro. See Dairyland,
16 F.3d at 1202 (the mistake must have a material effect on the bargain). The
parties themselves chose to use the indexes to set or adjust prices. The original
intent of the publishers of the indexes is thus irrelevant as it bears on these
contracts. ConocoPhillips, 2006 U.S. Claims LEXIS at * 26. Both DESC and
Tesoro entered into unambiguous contracts that called for the adjustment of
prices using certain market indexes. There could have been no mistake on the
part of either party as to whether these indexes would be used for such a
purpose.

        Our analysis of plaintiffs’ allegations concerning mutual mistake is
equally dispositive of the alternative allegations of unilateral mistake. The
mistakes alleged here were mistakes of judgment and not clerical or
arithmetical errors that would support relief. See Hamilton Enterprises, 711
F.2d at 1046. Nor would the allegations of unilateral mistake cause the
contract to be unconscionable. See J&E Salvage, 37 Fed. Cl. at 256 (stating
that the effect of a unilateral mistake must be such that the enforcement of the
contract would be unconscionable). An unconscionable contract is one “which
no man in his senses, not under delusion, would make on the one hand, and
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which no fair and honest man would accept on the other . . . .” Hume v.
United States, 21 Ct. Cl. 328, 330 (1886). The present contracts hardly meet
that test. In Glopak, the Federal Circuit upheld this court’s holding that an
EPA clause was not unconscionable even when the index involved dropped 18
percent at a time when the plaintiff’s actual costs rose five percent. 851 F.2d
at 336-338. The court further stated that plaintiff could not claim surprise or
lack of consent because it was aware of the nature of the price escalation
clause; its inclusion was a matter of business judgment. Id. at 338. The same
reasoning applies here. Morever, plaintiffs continued to enter into similar
contracts for 17 years. At some point their continued willingness to use these
clauses, after watching them operate for years, constitutes a waiver. Such
circumstances certainly leave no room for an argument of unconscionability.

       Plaintiffs have failed to allege facts sufficient to support a claim of
either mutual or unilateral mistake. Accordingly, plaintiffs’ allegations in
count VI fail to state a claim.

VIII. Count VII: Taking

         In count VII, plaintiffs allege a fifth amendment taking. They contend
that DESC took possession of their fuel and “infringed upon [their] property
rights in and in relation to the fuel [they] delivered” without a “supporting
claim of right.” (Compl. ¶ 131). They allege they have not been paid just
compensation as required by the fifth amendment. Defendant counters that
this is not a proper claim for a taking, because a contract covered the property
at issue.

       A takings claim is appropriate when the government acts in its
sovereign capacity to either physically take property or effectively render it
worthless by regulation or other government action. See Sun Oil Co. v. United
States, 572 F.2d 786, 818 (Ct. Cl. 1978). The fifth amendment’s takings
clause has limited application when the parties’ rights have been created by a
contract. J.J. Henry Co. v. United States, 411 F.2d 1246, 1249 (Ct. Cl. 1969);
See Gratz v. United States, 25 Cl. Ct. 411, 420, aff’d, 985 F.2d 583 (Fed. Cir.
1992). It may be possible for the government to effectively appropriate a
contractor’s rights under a contract through legislation or some other means
and thus effectuate a fifth amendment taking, but that is not what is alleged
here. See Omnia Commercial Co. v. United States, 261 U.S. 502 (1923).

       Plaintiffs’ claim is premised on the illegality of the contracts at issue,
not on an infringement of their contract rights nor upon the physical seizure of
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their property. Tesoro admits that if DESC established the validity of the
contract it would defeat Tesoro’s claims. (Pl.’s Op. To Def.’s Mot. 50.) See
Scan-Tech Security v. United States, 46 Fed. Cl. 326, 341 (2000). Our holding
under count I that these contracts were legal is thus fatal to plaintiffs’ claim in
count VII.

                               CONCLUSION

       Our analysis leads us to the conclusion that the complaint in its entirety
must be dismissed. The court therefore grants defendant’s motion to dismiss
under RCFC 12(b)(6) as to counts I-VII, except for paragraphs 45 and 46.
Paragraphs 45 and 46 are dismissed for lack of jurisdiction under RCFC
12(b)(1). Additionally, because plaintiffs have failed to plead facts upon
which this court can grant relief, their RCFC 56(f) Motion for a Continuance
to Permit Discovery is denied. “Where a case is resolved on a motion to
dismiss, additional discovery will not save it.” La Gloria, 2006 U.S. Claims
LEXIS at *120. Defendant’s motion to stay proceedings is denied as moot.
The Clerk is directed to dismiss the Second Amended Complaint and enter
judgment for defendant. No costs.




                                             s/Eric G. Bruggink
                                             ERIC G. BRUGGINK
                                             Judge




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